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               Exhibit 1
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                 First Horizon National Corporation, et al.

                                          v.

                   Certain Underwriters at Lloyd’s, et al.

                  Expert Report of Brian P. Vahey, Jr. CFA

                                November 4, 2013




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     I.   Introduction

1.        I have been retained by counsel, on behalf of Certain Underwriters at Lloyd’s, Aspen
          Insurance UK Limited, U.S. Specialty Insurance Company, and Federal Insurance
          Company (“Insurers”). The Insurers asked me to review the expert reports of Mr.
          Paul S. Atkins, Mr. Robert Pak, and Mr. Nicholas J. Weir, submitted in the above
          captioned matter, and provide my expert opinions regarding (1) FTN Financial
          Securities Corp. (“FTN”) market activities for certain Collateralized Debt Obligations
          (“CDOs”) referred to as Preferred Term Securities Limited (“PreTSLs”), (2) the
          nature of Sentinel Management Group, Inc.’s (“Sentinel”) business and whether it
          was an investment company and (3) the significance of Sentinel’s registration as a
          Futures Commission Merchant (“FCM”).

2.        This expert report is intended for use in the above-captioned matter. I have
          prepared this expert report based on the information available and reviewed by me
          as of today. I may expand or modify my opinions based on additional information or
          other developments.

3.        My employer, Berkeley Research Group (“BRG”), is being compensated for my time
          on this engagement at $600/hour. Other BRG professionals, working under my
          direction, assisted with the analysis and BRG is being compensated for their work at
          their customary hourly rates. None of this compensation is contingent upon my
          opinions.

    II.   Professional Qualifications

4.        I am a Principal at BRG with the Financial Institutions Practice, which specializes in
          consulting and testifying on the practices of broker-dealers, investment firms,
          investment advisers, hedge funds, insurance companies, and banks.

5.        I specialize in consulting in the areas of asset management, fiduciary duties,
          regulatory compliance, trading, risk, proper due diligence, fraud, restructurings,
          bankruptcies, and securities valuations and models. I have analyzed and traded a
          broad range of investments, particularly within fixed income and asset-backed
          products, including commercial and residential real estate loans and securities.

6.        Prior to joining BRG I worked in a similar capacity at Mesirow Financial Consulting
          (“MFC”). While at MFC I worked on the Sentinel bankruptcy with Mr. James
          Feltman. Mr. Feltman and MFC had been retained by the Sentinel Liquidation
          Trustee Mr. Frederick J. Grede. Our work involved analysis and reporting1 on issues

1
 Frederick J. Grede v. FTN Financial Securities Corporation, et al., Expert Report of James S. Feltman, CPA, CFE,
dated May 18, 2011.

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        surrounding Sentinel’s holdings, in particular PreTSLs, Sentinel’s operations, and its
        eventual bankruptcy.

7.      I have nearly 15 years of experience in the investment sector, predominantly as a
        portfolio manager and trader for a variety of institutional and accredited investors.
        I have invested and managed portfolios of up to $30 billion in assets for pensions,
        mutual funds, insurance companies, CDOs, segregated accounts, and a hedge fund.

8.      While a portfolio manager for GE Capital and GE Asset Management, I analyzed,
        invested, and traded many different varieties of CDOs including Trust Preferred
        CDOs and in particular, PreTSLs.

9.      I am a CFA charter holder and have held a FINRA Series 7 (General Securities
        Registered Representative) license.

10.     Prior to my investment and consulting career I served as a submarine officer in the
        U.S. Navy and am currently a retired Lieutenant Commander from the U.S. Navy
        Reserves.

11.     A complete list of my qualifications can be found in my curriculum vitae, attached as
        Appendix 1.

 III.   Material Reviewed in Formulating Opinions

12.     In forming my opinions below, I, and others under my direction, have reviewed
        numerous materials, including various complaints, depositions, expert reports and
        expert rebuttal reports. A complete listing of documents I relied upon can be found
        attached as Appendix 2.

 IV.    Summary of Primary Opinions

13.     Based on a review of the materials, analysis and nearly 15 years of prior experience
        as a fixed income trader and investor, my opinions are that:

14.     Opinion 1: “Making a market” is a common and widely used term in the financial
        services industry. The activities of a market maker depend on the market, security
        characteristics, and a dealer’s capabilities. FTN was a market maker, as the term is
        commonly understood, for PreTSL securities.

15.     Opinion 2: Mr. Atkins contends that Sentinel was not an investment company only
        because it was not registered with the SEC. Many companies operate as investment
        companies but are not registered with the SEC. Sentinel was a company engaged in
        investing in securities on behalf of others for a fee and therefore it is an investment
        company, as the term is commonly understood.

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16.       Opinion 3: Sentinel was registered as an FCM and allowed to operate as a broker
          or dealer in commodities. They performed some functions of a commodities broker
          by investing the margin assets of other FCMs and they were regulated as a
          commodities broker. For these reasons, Sentinel was a commodities broker-dealer.

    V.    Case Background

              A. Insurance Policies

17.       It is my understanding that the insurance policies at issue in this litigation contain
          the following exclusions: 2

         (v) arising out of any function of any Insured as a specialist or market maker for any securities or
         arising out of failing to make a market for any securities;


         (m) alleging, arising out of, based upon or attributable to the bankruptcy, insolvency,
         conservatorship, receivership or liquidation of, or suspension of payment by, any broker or
         dealer in securities or commodities, or any bank of banking firm, or any insurance or
         reinsurance entity, investment company or investment banker or any Insured; provided,
         however, this exclusion will not apply to Wrongful Acts solely in connection with an Insured’s
         investment on the behalf of the claimant in the stock of any of the foregoing entities;


18.       It is my understanding that common industry terms such as “market maker”,
          “broker or dealer in securities or commodities”, and “investment company”, were
          not defined elsewhere in the insurance policies. Therefore, I have considered
          whether FTN, based upon my industry experience and the materials reviewed, acted
          as a market maker, and whether Sentinel operated as an investment company and a
          broker or dealer in securities or commodities. As explained elsewhere in this expert
          report, it is my opinion that FTN functioned as a market maker for PreTSL
          securities, and Sentinel was both an investment company and a broker dealer in
          commodities as the respective terms are generally understood.

              B. PreTSLs and the Market in Which they Operate

19.       PreTSLs are a type of CDO first created by FTN and Keefe Bruyette & Woods, Inc.
          (“KBW”) in 2000. CDOs are created by pooling together financial assets. The CDOs
          then issue bonds from these pools that vary in seniority. Senior bonds have first


2
  First Horizon National Corporation, et al. v. Certain Underwriters at Lloyds Complaint dated July 18, 2011, Exhibit
A (primary policy) and Exhibit B (excess policy). Exhibit A, at pg. 73-74. I have not been asked to analyze the
insurance policies to interpret coverage,

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        priority on payback, mezzanine or junior bonds have second priority, and residuals,
        called income notes by FTN, have the lowest priority.

20.     More specifically, PreTSL is an acronym for CDO securities issued by a series of
        special purpose vehicles (“SPV”) called “Preferred Term Securities I - XXVIII, Ltd”.3
        FTN and KBW established SPVs to accumulate securities – primarily trust preferred
        securities (“TruPS”) of regional banks. FTN and KBW then issued PreTSLs, which
        were backed by the trust securities held in the SPV. Thus, PreTSLs are Trust
        Preferred Securities Collateralized Debt Obligations (“TruPS CDOs”).

21.     TruPS are preferred shares in banks that are treated as equity by bank regulators
        and as debt for tax purposes. Thus, they provide significant advantages to the
        issuing banks. According to the Philadelphia Federal Reserve Bank (“FED”), almost
        1,400 bank holding companies had approximately $148.8 billion in outstanding
        TruPS at the end of 2008.4 TruPS CDOs are significant buyers of TruPS. According
        to the FED, $58.9 billion dollars of TruPS CDOs were issued between 2000 and
        2007.5

22.     According to the FED research, FTN was the largest dealer in TruPS CDOs ($20.793
        billion original deal balance) ahead of Merrill Lynch ($12.443 billion original deal
        balance), Bear Stearns ($7.568 billion deal balance) and various entities with lower
        amounts (i.e., Credit Suisse, JP Morgan, Citibank, and Deutsche Bank). KBW had a
        $311 million dollar original deal balance.6 Between September 7, 2000, and
        November 8, 2007, over $19 billion in PreTSLs were issued in 28 separate issues.7

23.     TruPS CDOs such as PreTSLs are complex securities that required significant
        expertise and upfront investments from the dealers that developed them. The
        dealers purchased many preferred securities, put the securities into SPVs that the
        dealers themselves set up, and issued the securities backed by the trust held in the
        SPV to investors.

24.     To provide liquidity and attempt to maintain a profitable business, dealers make
        markets in the securities that they issue. Profits are achievable because investors
        typically pay premium prices if they think that the securities they are purchasing
        can be later sold in a market. In addition, dealers who create a security are

3
  Frederick J. Grede v. FTN Financial Securities Corporation, et al., Expert Report of John J. Olvany Report dated
May 18, 2011 (“Olvany Report”), Table D, pg. 22 and Offering Circular dated September 22, 2006 for securities to
be issued by Preferred Term Securities XXIII, Ltd.
4
  SRC Insights, Federal Reserve Bank of Philadelphia, First Quarter 2009 / Volume 13 Issue 3, pg. 8.
5
  The Trust Preferred CDO Market: From Start to (Expected) Finish, Research Department, Federal Reserve Bank of
Philadelphia, June 2011, pg. 5.
6
  Id., Table 2, pg. 36.
7
  Olvany Report, Table D pg. 22.

                                                        6
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         intimately knowledgeable about both the securities and the investors who initially
         bought them. Clearly, FTN had both the means and the incentive to make markets in
         the PreTSLs. According to Asset Backed Alert, a leading trade magazine, FTN, its
         banker Mike Heflin, and its head trader Alan Jankowski were among the “world’s
         leading CDO market makers”.8

25.      For original investors of PreTSLs, an effective way to exit their investments was to
         directly contact FTN or KBW. FTN promised to stand by their securities9 and the
         record shows that they stood ready to purchase the securities and made an effort to
         satisfy their customers’ wishes. For example, approximately $11.491 billion to
         $21.104 billion of PreTSLs representing 4.9% to 14.3% of the outstanding securities
         were traded by FTN and KBW in the secondary market each quarter between 1Q
         2005 and 4Q 2007.10

26.      FTN bought the securities from sellers and then sold them back to other investors.
         FTN did not buy these securities as an investment with the intent to make profits
         from price increases or income yield, but instead, purchased such securities to hold
         in inventory and sell as needed pursuant to its market making activities. These
         actions allowed FTN to support the market that FTN had created and in addition,
         earn significant profits, as cited by their head of capital markets, Frank Gusmus, who
         stated PreTSLs were responsible for nearly all FTN’s profits.11

27.      FTN and KBW were the premier market makers for PreTSL securities; they
         conducted most of the secondary trading and held the dominant source of
         inventory.

             C. Sentinel Management Group’s (“Sentinel”) business and demise

28.      Sentinel was an Illinois corporation that invested client funds. The company was
         registered with the SEC as an investment adviser and with the Commodity Futures
         Trading Commission (“CFTC”) as an FCM. The company filed for Chapter 11
         bankruptcy on August 17, 2007. At around the time of its bankruptcy, the company
         managed accounts for around 70 clients and purported to invest approximately $1.4
         billion in assets for these clients.12


8
  Asset-Backed Alert, www.ABAlert.com,October 31, 2008, p. 2.
9
  Frederick J. Grede v. FTN Financial Securities Corporation, et al., Stephen M. Folan phone call transcript dated
October 14, 2006, Exhibit 127, pgs. 7:10-8:8.
10
   Frederick J. Grede v. Stephen M. Folan, et al., Christopher M. James Expert Report dated May 18, 2011, Exhibit
13.
11
   Frederick J. Grede v. Stephen M. Folan, et al., Frank Gusmus deposition transcript, January 20, 2011, pgs. 41:4 -
42:15.
12
   SEC v. Stephen M. Folan, Complaint dated December 15, 2011, Case No. 1:11-cv-8905, pg. 4.

                                                          7
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29.     PreTSLs were one of the types of securities that Sentinel used in the accounts that it
        managed . Sentinel purchased PreTSLs from FTN and sold them back to FTN
        numerous times from 2004 until August 2007, when Sentinel declared bankruptcy.

 VI.    Opinion 1:

        “Making a market” is a common and widely used term in the financial services
        industry. The activities of a market maker depend on the market, security
        characteristics, and a dealer’s capabilities. FTN was a market maker, as the
        term is commonly understood, for PreTSL securities.

             A. What is a Market Maker?

30.     “Market making” in the securities markets consists of facilitating the buying and
        selling of securities between participants. Securities dealers (“Dealers”) are
        primarily the market participants who function as a market maker. They position
        the securities to buy and sell to and from investors or other dealers.13 Dealers’
        intent in this role is to profit from differences between buying and selling at the bid
        and ask prices respectively, known as the bid-ask spread, rather than profit from the
        income and capital appreciation from buying and holding the securities long term.

31.     Based on my experience as a participant in the securities marketplace, the
        fundamental activities of market making are:

                     Willingness to hold inventory;

                     Regular contact with customers to both buy and sell securities;

                     Supporting and facilitating a market; and

                     Earning a profit from the bid-ask spread or other fees in the transactions
                      instead of earning a profit from capital appreciation or income generated
                      by the securities.

32.     However, some attributes of a market maker’s activities vary based upon the
        characteristics of the security, the security’s market, and the market maker’s
        capabilities.




13
  Weiss, David M. (2006-08-17). After the Trade Is Made, Revised Ed.: Processing Securities Transactions (Kindle
Locations 7853-7854). Penguin Group US. Kindle Edition.

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 33.     Market liquidity is one of the characteristics that determine how market makers
         perform their activities.14 Market makers in liquid markets perform their activities
         differently from market makers in illiquid markets.

 34.     Trading in liquid markets is supported by real time quote systems which allow
         almost instantaneous execution in these markets. Because of the volume of
         transactions and number of participants involved, the SEC and FINRA have created
         technical guidelines and rules suitable for market makers in these markets. These
         regulators created such guidelines and rules consistent with their respective stated
         missions to “protect investors, maintain fair, orderly, and efficient markets15 and “to
         provide investor protection and promote market integrity”.16

 35.     U.S. securities exchanges are based on the concept that market makers will
         continuously offer to buy and sell securities by quoting a bid (buy) and offer (sell),
         because there is a steady stream of other customers who are willing to buy and sell
         the same securities.17

 36.     However, the vast majority of bond trades outside of the Treasury market do not
         occur on a centralized, organized exchange or trading system as stock trades do.
         Instead, the secondary market for bonds is a decentralized, over-the-counter (OTC)
         market.

 37.     The OTC bond market, with a few exceptions, is much less liquid than the stock
         market. Even within the Treasury market, many bonds have limited liquidity once
         they become “off the run”, i.e. not the most current issue. As a result, it is practically
         impossible for dealers to quote continuous two-way prices in debt markets.18

 38.     Certain securities trade over-the-counter because of the characteristics of these
         securities and their customer base. In contrast to equity markets where there are
         thousands of equity issues, the bond market consists of millions of outstanding
         securities. These bond securities can differ in a multitude of characteristics, such as
         their issuers, amounts outstanding, coupons, maturities, and credit risk.

 39.     For example, General Electric has one class of common equity with the ticker “GE”,
         but has well over a hundred different bond issues outstanding. Furthermore, the
         customer base for much of the bond market consists of institutional investors who

 14
    A “liquid market” is a market with many participants – buyers and sellers – and a corresponding high trading
 volume.
 15
    SEC website http://www.sec.gov/about/whatwedo.shtml.
 16
    FINRA website http://www.finra.org/AboutFINRA/Careers/.
 17
    Statement of Micah S. Green, President of the Bond Market Association, in Testimony before the Committee on
 Banking, Housing and Urban Affairs, U.S. Senate, June 17, 2004, p. 3.
 18
    Id, pg. 4.

                                                        9
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         primarily buy and hold their investments. Therefore, the GE bond securities are not
         as actively traded and are less liquid than the GE equity securities. Because of these
         features of the bond market it is impractical for Dealers that make a market in GE
         bonds to provide continuous bid-ask quotes. There is not enough capacity at any
         firm to hold all available bonds, and for certain issues there may be no available
         bonds to hold in inventory.

 40.     Since there is no centralized exchange for debt securities like the PreTSLs, the
         primary sources of liquidity to the market are the Dealers who function as market
         makers. This unique characteristic of the bond market is widely understood by
         participants, as is captured in the comments in 2004 by Mr. Micah S. Green, the
         former President of the Bond Markets Association19 on bond Dealers and capital at
         risk:20

                     “When an investor wants to sell a bond in the secondary
                     market, he or she usually sells the bond to a dealer. The
                     dealer then attempts to resell the bond to another
                     investor. This function is known as “market-making.”
                     The period between a dealer’s purchase of a bond and
                     when the dealer sells the bond is described as the time
                     the bond is in the dealer’s “inventory”.”

 41.     Dealers in debt markets adjust their practices, as needed, when they make markets.
         The lower liquidity in most bonds’ markets makes it riskier to hold inventory. The
         vast number of debt securities would require large inventories but capital
         constraints at a given firm limit the size of inventory.

 42.     In the relatively illiquid market that exists for many bonds, including PreTSLs, there
         are basically three ways to transact in the secondary market, as Mr. Pak also
         described in his report.

 43.     In the first method, the Dealer buys and sells to or from their inventory. Mr. Pak
         refers to this method as “Taking Down Bonds.” Holding inventories of a large
         number of bonds is a strain on the Dealer’s balance sheet from a capital as well as
         risk perspective. The Dealer’s capacity as a market maker therefore involves
         putting capital at risk as it is subject to price declines while the securities are in its
         inventory. The risk in illiquid markets is higher than that of liquid markets because
         it takes longer to identify a buyer for the securities in inventory and prices may drop


 19
   The Bond Markets Association is now known as Securities Industry and Financial Markets Association (SIFMA).
 20
   Statement of Micah S. Green, President of the Bond Market Association, in Testimony before the Committee on
 Banking, Housing and Urban Affairs, U.S. Senate, June 17, 2004, p. 45.

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       in the meantime. It is because of this risk that a Dealer will attempt to earn a higher
       spread between prices paid and sold.

 44.   In the second method, the Dealer receives an offer wanted in competition (“OWIC”)
       or a bid wanted in competition (“BWIC”), in order to buy or sell a certain list of
       bonds respectively. Mr. Pak refers to OWICs and BWICs as “lists”. Customers send
       the list of the bond(s) to multiple Dealers for their best price by a certain deadline.
       This method is often used to obtain better price execution. A dealer that wins a
       BWIC holds the securities in inventory until they are sold to other customers.
       OWICs are filled from a dealer’s existing inventory or the Dealer may accumulate
       inventory to facilitate future trades.

 45.   The third method of transacting by “matching up Buyers and Sellers” is perhaps the
       earliest known form of exchange. This can be done either informally, and
       sometimes referred to as “by appointment”, where a seller or buyer states their
       interest and the Dealer then seeks a counterparty to begin negotiations, or more
       formally, and referred to as “working an order”, where an actual size, amount and
       timeframe is agreed upon and the Dealer attempts to fill the order.

 46.   The common functions that are characteristic of market making in all three methods
       of trading are:

                 Willingness to hold an inventory;

                 Regular customer contact to both buy and sell securities;

                 Supporting and facilitating a market; and

                 Earning a profit from the bid-ask spread or other fees in the transactions
                  rather than to earn a profit from capital appreciation or income
                  generated by the securities.

          B. FTN Made a Market in PreTSLs.

 47.   What differentiates a broker who only is a match-maker from a dealer who truly
       supports the market, such as FTN, is their willingness to purchase the bond for
       inventory, without necessarily having a counterparty to whom they would sell the
       bond. FTN’s trading in PreTSLs was unparalleled because of their in-depth
       knowledge of the market; they also fully understood their customers’ PreTSL
       holdings and their appetite for trading in those holdings.

 48.   Participants in this market use the term market maker for Dealers that facilitate a
       market in a security or sector of fixed income to the best of their abilities. FTN


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          performed many activities that supported and facilitated a market for PreTSL
          securities including:

                      They were one of two issuers that created and sold PreTSLs;

                      They educated new and existing investors to deepen the market;

                      They restructured PreTSL bonds to create a broader customer base;

                      They assisted in, or provided outright financing for PreTSLs to support
                       the customer market; and

                      Most importantly, they performed the bulk of secondary trading in
                       PreTSLs and bought and held inventory within their capital constraints to
                       support that function.

 49.      FTN’s position as a market leader in the issuance of PreTSL securities was well
          established. By July 2007 FTN had led or co-led the issuance of over $19 billion in
          PreTSL notes, spread across 28 deals and over 100 bonds. 21

 50.      FTN’s efforts to cultivate a wider investor base and thus support primary22 and
          secondary23 markets is captured in the testimony of Mr. de Saint Phalle who was the
          lead member of the structured finance team for PreTSLs. When answering questions
          about selling PreTSL notes at year-end 2006 he states:24

                       “The process of selling income notes and marketing
                       PreTSLs never stopped at FTN at that point in time
                       because we were doing transactions quarterly. So we
                       were always in the market educating, meeting new
                       investors, increasing the breadth of the firm’s
                       distribution. So it was a constant process; constant
                       marketing and education...”

                       “Not to mention the fact [FTN], to the best of my
                       recollection, has about 200 institutional sales force that
                       we supported on the product, a number of which sold the
                       PreTSL product.”

 51.      As previously described, it is common practice for market makers in the less liquid
          OTC bond market to utilize three basic methods to transact in the secondary market.
 21
    Olvaney Report, Table D, pg. 22.
 22
    A primary market is a market where new securities are issued and sold directly by the issuer to investors.
 23
    A secondary market is a market trading in securities that takes place after the initial offering.
 24
    Frederick J. Grede v. Stephen M. Folan, et al., Jacques de Saint Phalle deposition transcript, May 11, 2011, pgs.
 350:7-14 and 347:17-348:3.

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          FTN was the dominant facilitator in all three methods for PreTSL products, making
          FTN the premiere market maker.

 52.      First, FTN bought and sold to or from its own inventory or “took bonds down” as Mr.
          Pak refers to the activity. FTN’s trading desk had balance sheet capacity of up to
          $125 million to hold PreTSLs and had the ability to purchase more with approval,
          according to the SEC testimony of their head trader, Alan Jankowski.25 His
          testimony also indicated that they utilized this capacity to purchase the $19 million
          in bonds from Sentinel in 200626 and more in 2007.27

 53.      Second, FTN used OWICs and BWICs to buy and sell as Mr. Pak mentions in his
          discussion of lists. Any current or potential investor in PreTSLs between 2000-2007
          utilizing this method would have included FTN and KBW because both firms were
          known as the market makers in the product and thus would be highly likely to
          provide the best execution. There is evidence from head trader Jankowski’s SEC
          testimony that FTN bid PreTSLs from lists, for inventory, and in amounts greater
          than their pre-approved limit:28

                      “I recall a large graded note purchase that I had to get
                      approval before I bid the bonds. But if I bought them, I
                      would be over our rated note inventory limit.”

 54.      Third, FTN matched buyers and sellers as Mr. Pak29 and Mr. Atkins30 both point out.
          Given FTN’s knowledge of the PreTSL market and its customer base and their
          trading activity, FTN was the logical Dealer to engage in this type of trading. FTN
          and some of their key employees considered themselves a market maker in PreTSLs.
          This is evidenced in FTN’s own documentation for the collateral description in a
          2006 PreTSL finance agreement with Sentinel:31

                      “Preferred Term Security Income Notes that FTN
                      Financial makes a market in.”



 25
    In the Matter of Sentinel Management Group, Inc., File No. C-07337-A, Alan Jankowski deposition transcript (SEC
 testimony), October 21, 2009, pgs. 60:8-61:5.
 26
    Id. pg. 50: 5-6.
 27
    Id. pg. 163:7-10.
 28
    id. pg. 119: 8-10.
 29
    First Horizon National Corporation, et al. v. Certain Underwriters at Lloyds, Expert Report of Robert Pak dated
 September 25, 2013 (“Pak Report”), pg. 17.
 30
    First Horizon National Corporation, et al. v. Certain Underwriters at Lloyds, Expert Report of Paul S. Atkins dated
 September 25, 2013 (“Atkins Report”), pg. 14.
 31
    Frederick J. Grede v. Stephen M. Folan, et al., Ducklo Exhibit 54, October 18, 2006 letter from FTN to Charles
 Mosely for $20 million loan, pg. 1.

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 55.     FTN’s salesman, Stephen Folan, who covered the Sentinel account, stated twice in
         his May 4, 2011 deposition that he believed FTN to be a market maker. In his
         responses to questions regarding PreTSL product liquidity, he stated: “To the best of
         my recollection, I think I actually thought they [PreTSL products] were more liquid
         than he [Sentinel’s trader] did because we were making markets in them and we
         were trading them”32 and also stated “. . . we were making—making active markets
         in them. We were trading them. There was bids and offers out there both at FTN,
         KBW.”33

 56.     Similar comments were made by de Saint Phalle34 and FTN’s head trader,
         Jankowski, who stated his concerns about PreTSLs in 2007 during his SEC
         testimony, “Because at that particular time in the marketplace, bonds were
         becoming more and more illiquid as the environment changed. And I was trying to
         assist him [Sentinel’s trader] with everything we could, and trying to keep an orderly
         market (emphasis added).”35

 57.     Accordingly, de Saint Phalle, Jankowski and Folan explicitly stated that they were
         making markets in PreTSLs and described how they tried to keep an orderly market.
         Mr. Atkins agrees that the function of maintaining an orderly market is an activity of
         market makers.36

 58.     KBW – the co-creator of PreTSLs together with FTN and a smaller primary Dealer
         for PreTSLs – clearly stated in its annual reports that:37

                      “The Company’s primary role as it relates to its PreTSLTM
                      product is to act as structuring and placement agent
                      broker and market maker.”

 59.     In addition, according to Asset Backed Alert, a leading trade magazine, FTN, its
         banker Mike Heflin, and its head trader Alan Jankowski were among the world’s
         leading market makers in CDOs.38 PreTSLs were the primary CDO securities that
         FTN created and traded.

 60.     Indeed, in its complaint against Folan, the SEC itself stated that:


 32
    Frederick J. Grede v. Stephen M. Folan, et al., Stephen M. Folan deposition transcript, May 4, 2011, pg. 54:1-4.
 33
    Id., pgs. 49:24-50:3.
 34
    Frederick J. Grede v. Stephen M. Folan, et al., Jacques de Saint Phalle deposition transcript, December 17, 2010,
 pg. 91:17-20.
 35
    In the Matter of Sentinel Management Group, Inc., File No. C-07337-A, Alan Jankowski deposition transcript (SEC
 testimony), October 21, 2009, pg. 143:14-17.
 36
    Atkins Report, pg. 17.
 37
    KBW form 10-K as Dec. 31, 2007, pg. 69.
 38
    Asset-Backed Alert, www.ABalert.com, October 31, 2008, p. 2.

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                        “FTN helped create a new PreTSL every quarter and was
                        one of only a few brokers who made a market in them.”39

 61.        These aforementioned examples demonstrate how the term “market maker” is
            broadly used in the industry.

 62.        The characterizations by FTN, its employees, KBW, the SEC, and Asset Backed Alert
            all support that it was broadly understood FTN performed functions that are
            characteristic of market makers for PreTSLs:

                        FTN held an inventory of PreTSLs and was regularly willing to buy or sell
                         PreTSLs;

                        FTN bought or sold PreTSLs to customers regularly and FTN found
                         counterparties for these trades when it did not have the securities in
                         inventory;

                        FTN Supported and facilitated a market for PreTSLs; and

                        FTN met the customer demand to buy and sell PreTSLs in order to earn a
                         profit from the bid-ask spread in the transactions rather than to earn a
                         profit from capital appreciation or income generated by holding the
                         securities for the long term.

 63.        Based on my experience as a participant in the fixed income market during this
            period and my analysis of FTN’s actions in the PreTSL market, it is clear that FTN
            was making markets in PreTSLs. As I have cited above, this is further supported by
            other constituents in the market during the applicable time period such as industry
            associations, industry newsletters, and regulators.

                C. Mr. Pak and Mr. Atkins Mischaracterize FTN’s Function in the PreTSL
                   Market

 64.        Mr. Atkins emphasizes the key criteria of a market maker to be “(1) holding itself
            out as and (2) being willing to buy and sell PreTSLs for its own account on a regular
            or continuous basis.”40 I believe that FTN did fulfill Mr. Atkins’ two criteria to the
            extent their capital allowed and thus functioned as a market maker, considering the
            nature of the PreTSL securities and the PreTSL market.

 65.        In his report, Mr. Atkins narrowly focuses on a technical definition of a market
            maker as contained in SEC and FINRA regulations in making his determination of

 39
      SEC v. Stephen M. Folan Complaint dated December 15, 2011, Case No. 1:11-cv-8905, pg. 5.
 40
      Atkins Report, p. 11.

                                                         15
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          whether FTN’s activities constituted market making.41 SEC rules are clearly
          established for market makers in only the most liquid of markets, because, in the
          words of Mr. Atkins, “they are fundamental to the smooth operation of U.S. capital
          markets – a market maker provides liquidity when there are imbalances in demand
          and supply for a particular security by stepping in to buy or sell from its own
          inventory.”42 However, as previously described, industry participants understand
          the term and actions of market makers more broadly in application across markets,
          including those less liquid such as PreTSLs.

 66.      Mr. Pak and Mr. Atkins point to various activities by FTN to support their argument
          that FTN was not a market-maker. For example, they point to FTN’s trading, buying
          bonds, “accommodating customers”, making promises, matching up buyers and
          sellers. Both Mr. Pak and Mr. Atkins view these as non-market making activities.
          Yet, it is the summation of these activities that created the industry notion of FTN
          functioning as a market maker in the PreTSL market.

 67.      Mr. Atkins makes several references to “concessions made to accommodate a
          customer” when referring to efforts made by FTN in order to provide liquidity for
          Sentinel with regards to PreTSL securities. These efforts include the year-end 2006
          repo transaction, and the construction of Combination Notes to create rated
          securities for Sentinel and other customers. I view these activities, especially in
          conjunction with FTN’s outright purchase of $19 million of income notes, as a Dealer
          providing support to the market to the best of their abilities. Providing support to
          the market is a function of a market maker.

 68.      Mr. Pak employs a similar, narrow definition of market maker, by making it
          contingent on the nature of a security’s market. He contends that market makers
          can only exist in liquid markets,43 and thus groups the actions of most fixed income
          Dealers trading securities besides U.S. Treasury notes, as “non-market makers”.

 69.      Market making, as it is broadly viewed in common parlance by fixed income
          participants, does not necessarily require a market to be liquid as Mr. Pak suggests.
          Similarly, illiquidity in a market does not preclude the possibility of market makers
          in that market. Considering the limited liquidity in the PreTSL marketplace, the
          market making shortfalls identified by Mr. Pak were due to the market, and not
          FTN’s efforts. They did not change the fact that FTN was a market maker.




 41
    Atkins Report, p. 10.
 42
    Atkins Report, p. 9.
 43
    Pak Report, p. 10.

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 70.      FTN was a leader in secondary structured finance trading for PreTSLs using all the
          means available, described by Mr. Pak to include taking down bonds, lists, and
          matching buyers and sellers.44 FTN regularly provided bids and offers,45 held and
          offered inventory,46 and provided liquidity to the market. The fact that there aren’t
          publicly quoted bids, or tight bid/offers, did not preclude FTN from facilitating
          liquidity in PreTSLs, just as it does not preclude the corporate bond market from
          having many market makers.

 71.      Mr. Pak and Mr. Atkins are using a definition of “market making” in PreTSL
          securities that is very narrow. These are technical definitions that come from SEC
          regulations that are oriented towards specific purposes and often apply only in
          liquid markets. Taken literally, Mr. Pak and Mr. Atkins’ definition of “market
          making” implies that there are no market makers in the vast majority of debt
          markets. Thus, their definition only applies to a narrow portion of the debt markets.
          Broadly speaking, it is understood by market participants that market making
          activities occur across the entire spectrum of fixed income.

 72.      Messrs. Pak47 and Atkins48 cite the risk disclosures in the PreTSL Offering
          Memorandums to indicate that FTN is not a market maker. These risk factor
          disclosures on “Limited Liquidity of Notes” are a common disclosure for bonds
          issued into the private market. For example, Bank of America’s private label
          residential mortgage backed securities (“RMBS”) series, Bank of America Funding
          Corporation (“BAFC”) contain the same liquidity clause in their prospectus.49 Bank
          of America as a Dealer acted as a market maker in all the BAFC RMBS bonds, holding
          and offering inventory, participating in lists, and matching buyers and sellers.

 73.      Dealers utilize this disclosure to ensure that the buyers understand that there is no
          guarantee of liquidity. However, the disclosure does not preclude Dealers from
          supporting this segment of bond market, or this particular offering, with market
          making activities. Investors make that determination by the actions of the Dealer in
          the market.

 74.      Investors would look at, for example, how much FTN traded in other PreTSL issues,
          whether FTN had and offered PreTSL bonds in inventory, how much inventory FTN
          could hold, and if they took down bonds off of lists. Proof of these activities, and the

 44
    Pak Report, pp. 15-16.
 45
    Frederick J. Grede v. Stephen M. Folan, et al., Stephen M. Folan deposition transcript, May 4, 2011, p. 50:1-4.
 46
    Frederick J. Grede v. Stephen M. Folan, et al., Stephen M. Folan deposition transcript, May 4, 2011, p. 125:11-16.
 47
    Pak Report p. 20.
 48
    Atkins Report p. 12.
 49
    BAFC 2006-D prospectus supplement dated April 26,2006, p. S-36.
 http://www.sec.gov/Archives/edgar/data/934377/000095013606003285/0000950136-06-003285.txt

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          assurances of the salesman and structuring leader that they would bid their bonds50,
          or support their paper, would indicate the level of FTN’s market making and the
          liquidity that exists for that type of security.

 75.      Accordingly, FTN would be viewed as a market maker in our industry, just as FTN
          viewed itself as a market maker.

 VII.     Opinion 2:

          Mr. Atkins contends that Sentinel was not an investment company only
          because it was not registered with the SEC. Many companies operate as
          investment companies but are not registered with the SEC. Sentinel was a
          company engaged in investing in securities on behalf of others for a fee and
          therefore it is an investment company, as the term is commonly understood.

              A. What is an investment company?

 76.      An “investment company” is a company that is primarily engaged in the business of
          investing securities. An investment company invests the money it receives from
          investors on a collective basis and investors share the profits and losses from the
          collective investments.51

 77.      Many “investment companies” are not required to be registered under the
          Investment Company Act of 1940 (the “ICA”). For instance, the ICA excludes from
          the registration requirements in its “Investment Company” definition, investment
          companies with too few investors. Although Congress chose to limit which
          investment companies needed to register under the ICA, the ICA does not purport to
          define how the word “investment company” is used by the industry. Indeed, many
          of the investment companies that do not have to register under the ICA, are still
          regulated under the Act and have to follow ICA requirements limiting their
          ownership. Moreover, the SEC itself, as well as the other regulators of the financial
          industry, recognizes that the term “investment company” is not limited to those
          companies that are required to register under the ICA. Hedge funds and private
          equity firms are examples of investment companies that are not required to register
          under the ICA.52




 50
    Frederick J. Grede v. Stephen M. Folan, et al., Transcript of May 4, 2006 phone call Mosley, Folan, de Saint
 Phalle, and Jankowski, pgs. 10:13-12:21.
 51
    http://www.sec.gov/answers/mfinvco.htm .
 52
    http://www.sec.gov/divisions/investment/invcoreg121504.htm .

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 78.     For example, then SEC Commissioner Hugh F. Owens has stated that: “The term
         "hedge fund" has been used broadly to describe registered or unregistered
         investment companies which employ special speculative investment techniques.”53

 79.     The Report of the President’s Working Group on Financial Markets prepared jointly
         by the Department of Treasury, the Federal Reserve Board, the SEC and the CFTC,
         defined the term “hedge fund” as encompassing “any pooled investment vehicle that
         is privately organized, administered by professional investment managers, and not
         widely available to the public. The primary investors in hedge funds are wealthy
         individuals and institutional investors.”54

 80.     Approximately two trillion dollars of assets were held by hedge funds at the
         beginning of this year.55 In other words, two trillion dollars are invested by this
         category of investment companies that are not required to be registered under the
         ICA.

 81.     In addition, thousands of investment companies outside the United States are, of
         course, investment companies, yet do not have to register under the ICA. Certainly,
         those in the industry and, indeed, the financial regulators themselves recognize that
         the term “investment company” encompasses many companies that are not
         required to be registered under the ICA.

             B. Sentinel was an investment company.

 82.     After analyzing Sentinel’s activities in the marketplace, it is clear they were
         operating as an investment company as that term is commonly understood. The
         activities indicating that Sentinel was operating as an investment company are: (1)
         they indicated their intent to invest on behalf of others, (2) they marketed
         themselves as an investment manager56, (3) they invested with full discretion across
         multiple strategies for which they had created investment guidelines based on
         customer constraints, and (4) they were paid a fee for their investment services.

 83.     Sentinel was clear in its intentions to invest on behalf of others. This is clearly
         exhibited in their 1981 request for a “no-action letter”:57



 53
    Hugh F. Owens, “A Regulator Looks at Some Unregulated Investment Companies, The Exotic Funds”, October 21,
 1969, p. 1
 54
    Hedge Funds, Leverage, and the Lessons of Long-Term Capital Management, Report of the President’s Working
 Group of Financial Markets, April 1999, p. 1.
 55
    http://www.barclayhedge.com/research/indices/ghs/mum/HF_Money_Under_Management.html .
 56
    Archived jpeg of Sentinel website.
 57
    1981 CFTC No Action Letter, at 1.

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                      “Sentinel is an FCM solely so that it may hold customers’
                      funds deposited with it by other FCMs for the exclusive
                      purpose of investing such funds in Section 1.25 (17CFR
                      1.25) approved obligations for the benefit of such other
                      FCMs.”

 84.     Sentinel marketed itself to the outside world as “a pre-eminent investment manager
         of short-term corporate cash”, according to their website.58 FTN knew Sentinel was
         a firm that was investing on behalf of others.59 Sentinel’s relationship with its
         customers is documented in their Investment Management Agreements which
         clearly delineate discretionary investment authority, treatment of customers’ funds,
         and fee arrangements.60

 85.     FTN recognized Sentinel as an investment company. Mr. de Saint Phalle made
         reference to Sentinel as a hedge fund, which is a type of investment company: “[Mr.
         Mosley] was a private money manager or hedge fund, as we understood it.”61

 86.     Additionally, FTN’s credit analysis of Sentinel for their 2006 loan stated, “Overall,
         Sentinel is very similar to a money market mutual fund except Sentinel’s clients
         know exactly what they own.”62 This association with a fund again demonstrates
         FTN’s belief that Sentinel was an investment company.

 87.     Court documents prepared in support of FTN refer to Sentinel as a hedge fund,
         hence as an investment company.63 The Defendants’ Motion for Summary Judgment
         reads: “Plaintiff, the Chapter 11 trustee of hedge fund Sentinel Management Group,
         Inc. (“Sentinel”), attempts to recover losses resulting from Sentinel’s massive
         leveraged investment strategy...” while the Defendants’ Motion to Dismiss reads: “By
         now this Court is familiar with the strategy of Frederick J. Grede, the Chapter 11
         Trustee of hedge fund Sentinel Management Group, Inc…” [emphasis added].

 88.     All these descriptions of Sentinel consistently refer to FTN as a “hedge fund” or fund,
         and hence an investment company.

 58
    Archived jpeg of website.
 59
    Frederick J. Grede v. Stephen M. Folan, et al., Jacques de Saint Phalle deposition transcript, December 17, 2010,
 pg. 42:15-17.
 60
    Sentinel Management Group, Inc., Investment Advisory Agreement with BC Capital Fund A, LLC, dated March 24,
 2005.
 61
    Frederick J. Grede v. Stephen M. Folan, et al., Jacques de Saint Phalle deposition transcript, December 17, 2010,
 pg. 42:16-17.
 62
    Frederick J. Grede v. Stephen M. Folan, et al., Ducklo Exhibit 56, FTN credit review of Sentinel for $20 million
 loan, pg. 1.
 63
    Frederick J. Grede v. Stephen M. Folan, et al., Memorandum of Defendants Stephen M. Folan, Jacques de Saint
 Phalle, FTN Financial Securities Corporation, and First Tennessee Bank, N.A., in Support of Their Motion for
 Summary Judgment, pg. 1; Memorandum of Law in Support of Defendants’ Motion to Dismiss the Complaint, pg. 4.

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           C. Mr. Atkins overlooks the common use of the term “investment
              company” and instead focuses on a narrow, technical definition of the
              term from SEC regulations.

 89.    Once again, Mr. Atkins presents a very technical, narrow definition for an
        investment company in lieu of what people in the industry regularly think of as an
        investment company.

 90.    Two trillion dollars are invested by hedge funds – private investment companies
        that Mr. Atkins considers not to be investment companies. Considering hedge funds
        alone, one would ignore investment companies holding two trillion dollars of
        investments using Mr. Atkins’s definition.

 91.    Sentinel was registered as an Investment Advisor under SEC regulations but did not
        give advice to its clients. It had discretion over the customers’ funds and managed
        how they were invested. These activities required them to register as an Investment
        Advisor.

 92.    In contrast, Sentinel was not required to register as an Investment Company under
        SEC regulations. The reason was not that Sentinel was not an investment company
        in common parlance, but that Sentinel did not have enough investors to require it to
        be registered.

 93.    Based on my experience working for all three types of companies, namely a
        registered Investment Company, a registered Investment Advisor, and an
        unregistered investment company, the act of investing on behalf of others, and being
        paid to do so, was a constant at all three. In fact, it is not always immediately
        apparent in the marketplace if an investment company is registered or how they are
        structured.

VIII.   Opinion 3:

        Sentinel was registered as an FCM and allowed to operate as a broker or
        dealer in commodities. They performed some functions of a commodities
        broker by investing the margin assets of other FCMs and they were regulated
        as a commodities broker. For these reasons, Sentinel was a commodities
        broker-dealer.

           A. What is an FCM or a commodities broker-dealer?

 94.    FCM is the term used in the Commodity Exchange Act (“CEA”) to refer to registered
        firms that are in the business of soliciting or accepting orders, as broker, for the
        purchase or sale of any exchange traded futures – commodities, financial, and other

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         – contracts and options on futures contracts. In connection with these activities,
         institutions may hold customer funds, assets, or property and may be members of
         futures exchanges and their associated clearinghouses.64

 95.     FCMs are often referred as commodity broker-dealers in common use. This use
         comports with the fact that the Commodity Futures Trading Commission regulates
         all futures markets – commodity, financial, and other futures – and similarly the
         Commodity Exchange Act is the principal legislation that governs all futures
         markets.

 96.     The CFTC currently defines an FCM broadly as an entity performing any of the
         following functions in connection with trading of commodities futures:65

                     (A) An individual, association, partnership, corporation,
                     or trust— (i)that— (I)is— (aa)engaged in soliciting or in
                     accepting orders for— (AA)the purchase or sale of a
                     commodity for future delivery; (BB)a security futures
                     product; (CC)a swap; (DD)any agreement, contract, or
                     transaction described in section 2(c)(2)(C)(i) of this title
                     or section 2(c)(2)(D)(i) of this title; (EE)any commodity
                     option authorized under section 6c of this title; or
                     (FF)any leverage transaction authorized under section 23
                     of this title; or (bb)acting as a counterparty in any
                     agreement, contract, or transaction described in section
                     2(c)(2)(C)(i) of this title or section 2(c)(2)(D)(i) of this
                     title; and (II)in or in connection with the activities
                     described in items (aa) or (bb) of subclause (I), accepts
                     any money, securities, or property (or extends credit in
                     lieu thereof) to margin, guarantee, or secure any trades
                     or contracts that result or may result therefrom; or
                     (ii)that is registered with the Commission as a futures
                     commission merchant.

                     (B) Further definition The Commission, by rule or
                     regulation, may include within, or exclude from, the term
                     “futures commission merchant” any person who engages
                     in soliciting or accepting orders for, or acting as a
                     counterparty in, any agreement, contract, or transaction
                     subject to this chapter, and who accepts any money,
                     securities, or property (or extends credit in lieu thereof)
                     to margin, guarantee, or secure any trades or contracts

 64
    Trading and Capital-Markets Activities Manual, Section 3030.1, pg.1, available at
 http://www.federalreserve.gov/boarddocs/supmanual/.
 65
    http://www.cftc.gov/consumerprotection/educationcenter/cftcglossary/index.htm#F .

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                        that result or may result therefrom, if the Commission
                        determines that the rule or regulation will effectuate the
                        purposes of this chapter.

 97.        Before the Dodd-Frank Act of 2010, the CFTC definition for an FCM was:66

                        an individual, association, partnership, corporation, or
                        trust that—
                        (A) is engaged in soliciting or in accepting orders for the
                        purchase or sale of any commodity for future delivery on
                        or subject to the rules of any contract market or
                        derivatives transaction execution facility; and

                        (B) in or in connection with such solicitation or
                        acceptance of orders, accepts any money, securities, or
                        property (or extends credit in lieu thereof) to margin,
                        guarantee, or secure any trades or contracts that result or
                        may result therefrom.

                B. Sentinel was registered as an FCM and therefore was a commodities-
                   broker-dealer

 98.        The CFTC required Sentinel to register as an FCM, because it performed some of the
            activities that constitute the definition of an FCM for other FCMs. At the time of its
            bankruptcy, Sentinel was one of 159 FCMs that filed financial reports with the
            CFTC.67

 99.        Just as Sentinel did not perform many of the activities that are listed in the definition
            of an FCM, other FCMs did not perform all the activities listed in the CFTC’s
            definition, either. For example, an FCM may be engaged in executing only interest
            rate futures trades or futures on options and no commodities. However, they are all
            viewed as commodities brokers. These are the only brokers that are authorized by
            the Commodity Futures Trading Commission under the Commodity Exchange Act to
            execute customer trades in futures on U.S. exchanges.

 100.       As a result, investment professionals commonly view an entity that is registered as
            an FCM, to be a commodities broker-dealer without specific reference to their
            business activities (e.g., even if the entity may be only executing interest rate futures
            trades or only performs investment services for other FCMs).




 66
      7 U.S.C. § 1a (20) (2009).
 67
      For financial data for current FCMs, see http://www.cftc.gov/MarketReports/FinancialDataforFCMs/index.htm

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 101.    Sentinel performed investment services for customer margin cash at other FCMs.
         The CFTC requires that whoever performs this function to be registered or
         regulated. 68 In order to do what Sentinel wanted to do, Sentinel had to be a bank or
         banking firm (such as a trust company) or an FCM. All of these organizations are
         discussed in the exclusion criteria in the insurance policy.

 102.    Mr. Weir cites CFTC’s no-action letters to Sentinel which give Sentinel certain relief
         from capital requirements as long as Sentinel did not trade futures. Nevertheless,
         CFTC letter dated January 21, 2004 does not preclude Sentinel from trading
         commodities commensurate with its existing capital or further execute any amount
         of commodities transactions accompanied by capital infusions.69 Sentinel’s adjusted
         net capital ranked 114th out of the 159 FCMs registered with the CFTC at the time of
         Sentinel’s bankruptcy (i.e., 45 FCMs had less capital than Sentinel for executing
         commodities trades).70

 103.    In summary, Sentinel was a broker-dealer in commodities based on the fact that it
         was registered and allowed to operate as one.


 I may update the report if new information comes to my attention.




 Brian P. Vahey, Jr. CFA                                  Date: November 4, 2013




 68
    CFTC Rule 1.20.
 69
    CFTC letter No. 04-06.
 70
    http://www.cftc.gov/MarketReports/FinancialDataforFCMs/index.htm .

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                                              Currriculum Vitaae

                                              Brian
                                                  n P. Vahey, JJr.

                                  BER
                                    RKELEY RE     ESEARCH G  GROUP, LLC C
                                               th
                                        810 7 Avenue,
                                                  A       Suitee 600
                                     Direct: (646)) 862-0954 eext. 9954
                                         bvahey@  @brg-expert. com

  UCATION
EDU

     B.S. (Aerrospace Engineering)                  University oof Notre Dam
                                                                           me
     B.S. equivalent (Nuclear Engineerring)         Naval Nucleear Power Scchool

  ESENT EMP
PRE       PLOYMENT
                 T

     Berkeley Research Grroup - Princip
                                      pal

PRE
  EVIOUS POSITIONS

                        onsulting
     Mesirow Financial Co
            g Director, Restructuring
     Managing           R                         on Consultinng Practice, N
                                      and Litigatio                        New York, NY
     2008-201
            12

     King Streeet Capital
     Trader, New
             N York, NY   Y
     2006-20008

     GE Assett Managemen nt/GE Capitaal
     Portfolio Manager and
                         d Trader, Staamford, CT
     1999-200 06

     U.S. Nav
            vy
     Lieutenan
             nt Command
                      der, Submarin
                                  ne Force
     1991-19998

   ENSES AND
LICE       D CERTIFICATIONS

     Current

     Charteredd Financial Analyst
                          A       and member
                                      m      of the CFA Instituute
     FINRA Series
             S      7 Licen
                          nse
     Certified Six Sigma Black
                          B    Belt



PRE
  ESENTATIO
          ONS AND SP
                   PEAKING ENGAGEM
                           E     MENTS
                                                                                                  1
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         "Mezz/C CMBS Worko   outs: What Makes
                                         M     them Different?"
                                                     D           (C
                                                                  Co-Panelist),, IMN’s 3rd A
                                                                                           Annual Bankk & Financiall
        Institution
                  ns Special Asset Executiv
                                          ve Conferencce On Real E
                                                                 Estate Workoouts, Mar 20112

  OFESSIONA
PRO       AL EXPERIENCE

Mr. VVahey provid des financial services mattter expertisee in litigationn, restructurinng, and valuaation matters.. He has
over ten years of experience asa an institutiional investorr in the analyysis, managem  ment and traading of fixedd income and
                                                                                                                             d
derivvatives. He was
                 w a portfolio manager for  f pension, mutual
                                                          m         fund, insurance, CCDO and segregated accoount
invesstors. Mr. Vahey also maanaged and trraded positio  ons for a largee hedge fundd that specialiized in distreessed assets.
As a consultant he
                 h has been active in invesstigating and d supporting llitigation invvolving asset managemennt, financial
serviices and secu
                 urities, includ
                               ding secured financial prooducts of all ttypes includiing RMBS, A    ABS, CDOs, and CMBS.

Mr. V
    Vahey has:
  Collected an  nd analyzed observable market
                                           m        data fo
                                                          or high yieldd, illiquid, disstressed and eesoteric secuurities
     involved in litigation inccluding bondds, CDS, and structured prroducts.
  Testified to underwriting   g standards and
                                            a FASB acccounting treaatment of heddge fund assets involvingg private
     asset backedd loans, settleements and other
                                            o     assets.
  Led consultting expert effforts in seve eral multibilllion dollar littigations invoolving disputtes between iinstitutional
     investors an
                nd the mortgaage backed seecurity origin  nators, underrwriters, and officers.
  Analyzed th  he pricing and modeling of  o various fin nancial instruuments for acccounting or bankruptcy/ssolvency
     purposes including advising on an an   nnual audit of a bank withh a large morrtgage operattion. Createdd modeling
     assumptionss and verified d accountingg adjustmentss for mortgagge portfolio aassets consistting of Primee, Alt-A, and
     HELOC loaans.
  Conducted forensic worrk in multiple     e sectors withhin financial services. Mrr. Vahey has investigated officers and
     operations at
                 a different ty
                              ypes of financial institutioons includingg a major moortgage originnator, a majoor residential
     mortgage seervicer, a Futtures Commiission Merchant, a moneyy managemennt firm, a RM          MBS issuer, aas well as
     multiple heddge funds.
  Consulted on o counterparrty risk and litigation issu ues, includingg loan and seecurity analyssis for both a large bond
                 ng mortgage originators and
     insurer facin                          a a RMBS//CDO investtors in a mattter involving major investtment banks.
  Conducted collateral ana    alysis and vaalued several CDO portfo lios in conneection with ann indentured trustee to
     determine proper
                p       asset disposition
                              d           sttrategies.
  Calculated damage
                 d        estim
                              mates in multtiple disputess including inndividual seccurity losses, portfolio lossses, Ponzi
     schemes, ass well as losses due to inaadequate serv vicing.
  Negotiated recoveries in                ng efforts such as workingg on behalf oof a group of unsecured crreditors to a
                              n restructurin
     $4.0 billion Commerciall Real Estate REIT. Mr. Vahey  V      led thhe analysis annd investigatiion into the llending
     agreements,, indentures, collateral vaalues, and seccurities to faccilitate a settllement that aavoided bankkruptcy.

Priorr to working as a consultaant, Mr. Vaheey was a trad    der at King Sttreet Capital Managemennt, LLC, in N  New York,
NY. In this role, Mr. Vahey conducted
                                 c           alll strategy, un
                                                             nderwriting aand trading foor the structuured product pportfolio:
   Initiated the  e MBS, ABS, CMBS straategy for this $9.0 billion hedge fund.
   Developed loan level va      aluation modeels for subpriime and Alt--A loans to evvaluate invesstments.
   Utilized CD   DS in the creaation of multiple syntheticc custom cre dit portfolioss to strategicaally maximizze short
       exposure to CDOs and subprime
                                 s          asseets.
   Conducted financial ana      alysis, including in-depth business moodel and balannce sheet streength, on sevveral firms in n
       the financiaal sector inclu
                                 uding REITs,, thrifts, mon  nolines and m
                                                                         mortgage insuurers.



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     Traded and managed up to $1 billion
                                        n in exposuree in ABX, CM  MBX, single name CDS ffor subprime bonds and
      CDOs, resid
                dual/equity pieces
                            p      of morrtgage securitties, CDO eqquity, aircraftt bonds, and distressed hoome equity
      ABS.

Priorr to King Streeet Capital, Mr.
                                M Vahey worked
                                             w         for thee General Eleectric Compaany where hee served as a portfolio
manaager for General Electric Asset Manag       gement (“GE  EAM”) and G   General Electtric Financiall Assurance. In his role at
                                                                                                                                a
GEAAM, Mr. Vah    hey:
   Co-managed a $30.0 billion structure        ed product po ortfolio for innvestors.
   Traded fixed and floatin    ng ABS, CMB     BS, and MBS   S, for multiplle insurance,, total return, and CDO poortfolios.
   Helped lead   d efforts to crreate GEAM’s CDO platfform includinng issuing itss first CDO, tthe $400mm mezzanine
       Summer Strreet I. Mr. Vahey:
                               V
             o Oversaw
                 O          credit underwritin  ng of both seecurities and the issuers/uunderwriters.
             o Worked
                 W         with underwriters
                                  u           s on CDO stru   ucture and ecconomics.
             o Conducted
                 C            thee majority off trading of caash and synthhetic securitiies and hedgees.
             o Expanded
                 E           the size of the CDO
                                              C       portfolio
                                                              o by issuing an additionaal $1.6 billionn of both highh grade and
                 mezzanine
                 m            CDDOs under th  he Summer Sttreet label.
   Collaborate   ed with total return
                                 r      portfolio managem   ment team on strategic andd tactical tradding decisionns to create
       alpha for po
                  ortfolio. Mosst funds managed were in      n 2nd quartile for peer grouup over threee and one yeaar horizons.
   Led the dev   velopment off the structureed product crredit researchh team. The ddevelopmentt effort includded:
             o Conducting
                 C             orriginator, serrvicer, issuer and conduit due diligencce for all secuurities includding ABS,
                 RMBS
                 R        and CM MBS.
             o Analysis
                 A          inclu
                                uded:
                       Issuer, originator and a servicer financial
                                                              f         streength.
                       Deal underwriting,
                                u               , including prrospectus revview.
                       Developing pre-paayment and default  d       modells.
                       Month   hly surveillan nce of the seccurities portffolio.
                       Analy  ysis of the enttire securitizaation processs including orriginator andd servicer visits,
                          examiination of len nding personn   nel and proceesses, loan prricing, securiitization creaation and
                          valuattion.

At GGE Financial Assurance Mr.M Vahey dirrected the com     mposition annd performannce of $100 bbillion in fixeed income
insurrance portfolios backing a variety of in nsurance liabbilities as a pportfolio mannager.
In thhis role he:
     Coordinate  ed and manag ged all variabbles impactinng the portfollio and comppany includinng:
               o GAAP/STAT
                  G           T/TAX issuess
               o Regulatory
                  R           caapital efficien
                                              ncy
               o ALM
                  A     strategiies
               o Risk
                  R strategiees
                  N product developmen
               o New                         nt
               o Portfolio
                  P         optiimization
               o Asset
                  A     allocatiion strategiess
               o Cash
                  C    flow maanagement
               o New
                  N asset claass introductiions
     Directed in nvestments inn the followin ng asset classses:
               o Treasuries
                  T
               o Agencies
                  A
               o Corporates
                  C
               o High
                  H    yield
                                                                                                                               3
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             o Private
                  P       placemments
             o Commercial
                  C             real
                                r estate
             o Structured
                  S          prroducts, inclu
                                            uding ABS, RMBS,
                                                          R         CMB BS
             o Municipals
                  M
             o Emerging
                  E          maarkets debt
             o Levered
                  L        loan
                              ns
             o Interest
                  I       rate and
                               a credit syn  nthetics
             o Private
                  P       equity
                               y, Hedge fun nds, and equitties
     Created a methodology
                m               for portfolio pricing versuus a liability stream that rresulted in a measurable iincrease in
      the compan ny’s net incomme.
     Expanded clients’
                 c       investting options by
                                             b introducin  ng high yieldd CMBS and Levered Loaans.
     Developed and executed   d an industry first by utilizzing a forwar             wap strategy to create synnthetic
                                                                        ard starting sw
      duration in an $8.0 billio
                               on long term care insuran  nce portfolio.

Priorr to working for GE Mr. Vahey
                              V      servedd as a Lieuten
                                                        nant Commaander in the U  United Statess Navy submaarine force,
wherre he ranked at the top of his peer grou
                                           up during hiss years of serrvice and earnned a numbeer of leadershhip and
perfoormance awaards.




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                     Document                                           Date

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 Ill.), Complaint
 Expert Report of John J. Olvany                                                     5/18/2011
 Expert Report of James S. Feltman                                                   5/18/2011
 Expert Report of Professor Christopher M. James                                     5/18/2011
 SEC v Folan, Case No. 1:11 CV 8905 (N.D. Ill.),                                    12/15/2011
 Complaint
 USA v Eric Bloom and Charles Mosley, Indictment                                        1/2012
 Expert Report of Nicholas J. Weir                                                   9/25/2013
 Expert Report of Paul S. Atkins                                                     9/25/2013
 Expert Report of Robert Pak                                                         9/25/2013


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 Complaint of Certain Underwriters at Lloyd’s                                       7/18/2011
 and Aspen Insurance UK Limited


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 Alan Jankowski, Grede v. Folan (SEC Testimony)                                    10/21/2009
 Jacques de St. Phalle                                                   12/17/2010, 5/11/2011
 Stephen M. Folan                                                                     5/4/2011
 Frank Gusmus                                                                        1/20/2011


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 Issues, Eric Bloom
 Grede v Folan, Case No. 08 CV 6587 (N.D.Ill.), Memorandum                          1/21/2009
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 Summary Judgment


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 SEC Protects Investors, Maintains Market Integrity, and
 Facilitates Capital Formation)
 SEC website: Investment Companies                                               7/9/2013
 SEC website: Investment Company Registration and                               2/19/2013
 Regulation Package
 CFTC Glossary, www.cftc.gov                                                    11/2/2013
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 Preferred Term Securities XXIII Offering Circular                              9/22/2006


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 October 18, 2006 Letter from FTN to Charles                                   10/18/2006
 Mosley for $20 million loan
 Sentinel Management Group: $20 Million Line of                                      2006
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 Letter from Jim Vogel, FTN Financial Capital                                   2/13/2012
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 Corporation About Us


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 Phone Call Transcript between Charles Mosley and Steve Folan                  10/14/2006
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 Huge F. Owens Address: A Regulator Looks at Some                              10/21/1969
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 President, Bond Market Association
 2004 Customer Agreements (cited in Feltman Report)                                        2004
 Banc of America BAFC 2006-D prospectus                                               4/26/2006
 Broker Insurance Document: MARSH Insurance                                            8/5/2008
 Investopedia.Com definition, “Investment Company”                                         2013
